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                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    EUGENE DIVISION

JOSHUA S. KIRKPATRICK, Personal              )
Representative of the Estate ofAlison        )   Case No.
Marie Kirkpatrick,                           )
                                             )   COMPLAINT
                      Plaintiff              ) Wrongful Death Action (28U. S. C. §1346(b)(l)
                                             )
       V.                                    )
                                             )
UNITED STATES OF AMERICA,                    )
                                            )
                      Defendant.            )

1.     PlaintiffJoshuaS. Kirkpatrick, asPersonalRepresentativeoftheEstateofAIisonMane

       Kirkpatrick, brings this Complaint against the United States ofAmerica pursuant to the

      Federal Tort Claims Act ("FTCA"), 28 U. S. C. §1346(b)(l).

2.    Plaintiff has exhausted his claim by filing the standard form 95 with the Defendant and

      having been received by Defendant on June 1, 2018, and Defendant denied Plaintiffs

      claim on November 7. 201 8.




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                                      INTRODUCTION

3.     This action seeks damages for the death of Alison Mane Kirkpatrick as a result of

       medical negligence ofthe Mosaic Medical clinic in Bend, Oregon, which are federal

       employees ofthe U. S. Health andHuman Services Department. Theseemployees and

       agents ofthe United States were actingwithin the scopeoftheir federal employ at the

       time ofthe medical negligence andwouldbe liable to PlaintiffunderOregon law.

                              JURISDICTION AND VENUE

4.     This court hasjurisdiction overthis claim againsttheUnited Statesformoneydamages

       pursuant to 28 U. S. C. §1346(b)(l).


5.     The acts or omissions giving rise to the claim occurred in the City of Bend, Oregon.

       Venue is therefore proper under 28 U. S. C. §1402(b)(l).


                                          PARTIES

6.     Plaintiffis the duly appointedrepresentative ofthe EstateofAlison ManeKirkpatrick

       who was survived by her husband, her parents, and her five children.

7.     Defendant United States of America is sued for the wrongful death ofAlison Marie

       Kirkpatrick as a result of the medical negligence of the Mosaic Medical clinic, Bend,

      Oregon, with said employees and agents of Mosaic Medical clinic deemed as federal

      employeesoftheU. S. HealthandHumanServicesDepartmentfallingundertheFTCA

      and making the United States of America liable therein.




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                                      ALLEGATIONS

8.      At all material times, Alison MarieKirkpatrick wasa patient ofandreceivingmedical

        services of the Mosaic Medical clinic in Bend, Oregon.

9.      Forseveral yearspriorto September21, 2017,AlisonMarieKirkpatrick complainedto

        medical employees of Mosaic Medical clinic of low back problems with sciatic

        involvement into her left leg and occasional numbness and tingling down her leg and

        into her foot. Despitetheserqieated complaints oflow back with radicularproblems

        into her left leg, the medical personnel ofMosaic Medical failed to order anyimaging

        tests, although Alison Mane Kirkpatrick rqieatedly enquired asto what could be doneto

        alleviate her problems.

10.     Thereafter and after having received advice by her physical therapist, Alison Mane

        K-irkpatrick requested Mosaic Medical to refer her for imaging tests of her low back

        which were conducted on September21, 2017, revealing a large heterogeneous mass

        withassociatedcalcificationsofherleft lumbosacraljunction andextendingintoherleft

        L5-S1 neural foramen revealing malignancy and metastases in her liver, pulmonary

       nodules, and low back areas.


11.    Thereafter, Alison Marie K-irkpatrick wasdiagnosedwith cancerthroughout herbody

       and shepassedawayfrom the canceron October22, 2018.

                                  CAUSES OF ACTION
                                    NEGLIGENCE


12.    Plaintiffincorporates by reference the allegations in the precedingparagraphs.

13.    AlisonManeKjrkpatrickwasa patientofDefendantandDefendantowedAlisonMarie


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        Kirkpatrick theduty to exercise that standard ofcarethat would bereasonably prudent

        withinthemedicalcommunity andDefendantdeviated from thatstandardofcarebyits

        failure to properly diagnose, treat, and refer Alison Mane Kirkpatrick for medical

        services dealingwithherproblems to herlow backintoherleft leg in a timely manner.

14.     Defendant breached their duty to exercise that standard of care and as a substantial

        factor, Alison Mane Kirkpatrick sustained economic andnon-economic damagesforher

        pain, suffering, and death all to her damage in the sum of $2,250, 000.

                                    LOSS OF CHANCE

15.     Plaintiffincorporates byreference the allegations in theprecedingparagraphs.

16.     As a directresult ofDefendant'sfailureto exercisethe standardofcarethatyouwould

        reasonably expect within the medical community, Alison Marie Kirkpatrick lost her

        chanceoftreating and surviving from said cancerouscondition.

                                  PRAYER FORRELIEF

17.     Plaintiffrequests a judgment againstDefendantforhereconomicdamagesforpastand

        future diminished earning capacity and for hernon-economic damages ofherphysical

        pain andmental sufferingin death, all in a sum of $2,250,000.

                       -th
        DATED this 25m day of April, 2019.




                                               /arren John West, OSB#733224
                                              Attorney for Plaintiff




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